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 1     Jeffrey W. Dulberg (CA Bar No. 181200)
       John W. Lucas (CA State Bar No. 271038)
 2     Jeffrey P. Nolan (CA Bar No. 158923)
       PACHULSKI STANG ZIEHL & JONES LLP
 3     10100 Santa Monica Blvd., 13th Floor
       Los Angeles, California 90067-4003
 4     Telephone: 310-277-6910
       Facsimile: 310-201-0760
 5     Email: jdulberg@pszjlaw.com
               jlucas@pszjlaw.com
 6             jnolan@pszjlaw.com
 7     Counsel to Bradley D. Sharp, Chapter 11 Trustee
 8
                                    UNITED STATES BANKRUPTCY COURT
 9
                                     CENTRAL DISTRICT OF CALIFORNIA
10
                                               LOS ANGELES DIVISION
11
       In re                                             Case No. 2:23-bk-10990-NB
12
       LESLIE KLEIN,                                     Chapter 11
13
                                     Debtor.
14

15     BRADLEY D. SHARP, Chapter 11 Trustee,             Adversary No.: 2:24-ap-01140-NB
16                                   Plaintiff,          PROOF OF SERVICE OF ORDER (1)
       vs.                                               SETTING STATUS CONFERENCES IN
17                                                       RELATED ADVERSARY PROCEEDINGS,
       LESLIE KLEIN, an individual, etc., et al.,        AND (2) DIRECTING CHAPTER 11
18                                                       TRUSTEE TO GIVE NOTICE TO ALL
                                     Defendants.         PARTIES
19
                                                         [Relates to Docket No. 950 in Case No. 23-10990]
20
                                                         Principal Status Conference:
21                                                       Date:     April 8, 2025
                                                         Time:     2:00 p.m.
22                                                       Place: Courtroom 1545
                                                                   255 E. Temple Street
23                                                                 Los Angeles, CA 90012
                                                         (or via Zoomgov per posted instructions)
24

25               I, Nancy H. Brown, am employed in the city and county of Los Angeles, State of California.
26     I am over the age of 18 and not a party to the within action; my business address is 10100 Santa
27     Monica Boulevard, Suite 1300, Los Angeles, California 90067.
28


       4920-5062-7879.1 78512.001
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 1               On March 14, 2025, I caused a copy of the Order (1) Setting Status Conferences In Related

 2     Adversary Proceedings, And (2) Directing Chapter 11 Trustee To Give Notice To All Parties to be

 3     served as indicated in the manners below:

 4     SERVED BY U.S. MAIL:
 5          Leslie Klein & Associates, Inc.   Leslie Klein               Leslie Klein & Associates, Inc.
            c/o Parker Milliken               322 North June Street      c/o Leslie Klein
 6          555 Flower Street                 Los Angeles, CA 90004      6454 Van Nuys Blvd. Suite 150
            Los Angeles, CA 90071                                        Van Nuys, CA 91401
 7

 8     SERVED BY EMAIL:
 9
            •    Simon Aron saron@wrslawyers.com, moster@wrslawyers.com;jlee@wrslawyers.com
10          •    Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
            •    Robert P Goe kmurphy@goeforlaw.com,
11               rgoe@goeforlaw.com;goeforecf@gmail.com;Goe.RobertP.R@notify.bestcase.com;ajohnston@goeforlaw.com
            •    Eric J Olson eric@ejolsonlaw.com
12          •    Nikko Salvatore Stevens nikko@cym.law, eService@cym.law,karen@cym.law
            •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
13          •    Clarisse Young youngshumaker@smcounsel.com
            •    Leslie Klein: les.kleinlaw@gmail.com; leskleinlaw@gmail.com; kleinlaw@earthlink.net
14          •    Daniel A. Crawford dac@crawfordlawgroup.com

15
                 I declare under penalty of perjury, under the laws of the State of California and the United
16
       States of America that the foregoing is true and correct.
17
                 Executed on March 14, 2025, at Los Angeles, California.
18
                                                                 /s/ Nancy H. Brown
19                                                                   Nancy H. Brown
20

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       4920-5062-7879.1 78512.001                            2
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